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                                                                               Massachusetts Local Form 3

                                                                                                              United States Bankruptcy Court
                                                                                                                       District of Massachusetts

                                                                               In re: Giuberti, Luiz                                                Case No. 4:15-bk-41753
                                                                                                                                                    Chapter: 13

                                                                                                                 AMENDED CHAPTER 13 PLAN COVER SHEET


                                                                               Filing Date:         01/16/2016                         Docket #:     4:15-bk-41753

                                                                               Debtor:              Luiz G. Giuberti                   Co-debtor:

                                                                               SS#:                 XXX-XX--6983                       SS#:

                                                                               Address:             26 Ivy Lane                        Address:
                                                                                                    Milford, MA 01757



                                                                               Debtor's Counsel:            Carmenelisa Perez-Kudzma

                                                                               Address:                     413 Boston Post Rd
                                                                                                            Weston, MA 02493
                                                                               e-mail:                      carmenelisa@pklolaw.com
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                                                                               Telephone #:                 7812095596

                                                                               Facsimile #:                 9786001482




                                                                               ATTACHED TO THIS COVER SHEET IS A PRE-CONFIRMATION AMENDMENT TO THE CHAPTER 13
                                                                               PLAN FILED BY THE DEBTOR(S) IN THIS CASE. THIS PLAN SETS OUT THE PROPOSED
                                                                               TREATMENT OF THE CLAIMS OF CREDITORS. THE CLAIMS, AS PRESENTLY ESTIMATED BY
                                                                               THE DEBTOR(S) BASED ON AVAILABLE INFORMATION, ARE SET FORTH IN THE BANKRUPTCY
                                                                               SCHEDULES FILED BY THE DEBTOR(S) IN THE BANKRUPTCY COURT, BUT NOTE THAT RULE
                                                                               13-13(a) OF THE MASSACHUSETTS LOCAL BANKRUPTCY RULES REQUIRES ANY CREDITOR
                                                                               WHO WISHES TO RECEIVE DISTRIBUTIONS UNDER THE PLAN TO FILE A PROOF OF CLAIM
                                                                               CONFORMING TO OFFICIAL FORM 10. ANY CLAIM TO WHICH THE DEBTOR(S) OBJECT WILL BE
                                                                               PAID ONLY IN THE AMOUNT ALLOWED BY THE COURT.

                                                                               YOU WILL RECEIVE (OR ALREADY HAVE RECEIVED) A SEPARATE NOTICE FROM THE
                                                                               BANKRUPTCY COURT OF THE SCHEDULED CREDITORS' MEETING PURSUANT TO § 341. THAT
                                                                               NOTICE WILL ALSO ESTABLISH THE BAR DATE FOR FILING PROOFS OF CLAIMS.

                                                                               PURSUANT TO RULE 13-10(b) OF THE MASSACHUSETTS LOCAL BANKRUPTCY RULES, YOU
                                                                               HAVE UNTIL THIRTY (30) DAYS AFTER THE DEBTOR FILES A CERTIFICATE OF SERVICE
                                                                               CONCERNING THIS AMENDED PLAN TO FILE AN OBJECTION TO CONFIRMATION OF THE
                                                                               CHAPTER 13 PLAN.




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                                                                                                          United States Bankruptcy Court
                                                                                                                    District of Massachusetts
                                                                                                             Amended Pre-Confirmation Chapter 13 Plan

                                                                               Docket No: 4:15-bk-41753

                                                                               Debtors:

                                                                               Luiz G. Giuberti                                                           SS#: -6983

                                                                                                                                                          SS#:



                                                                               I. PLAN PAYMENT AND TERM:

                                                                               Debtor(s) shall pay monthly to the Trustee the sum of $575.00 for the term of:

                                                                                   36 Months. 11 U.S.C. § 1325(b)(4)(A)(i)

                                                                                   60 Months. 11 U.S.C. § 1325(b)(4)(A)(ii)

                                                                                   60 Months. 11 U.S.C. § 1322(d)(2). Debtor avers the following cause:      N/A

                                                                                   60 Months. The Debtor states as reasons therefore:    N/A
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                                                                               II. SECURED CLAIMS, EXECUTORY CONTRACTS AND UNEXPIRED
                                                                               LEASES:

                                                                               A. Secured claims to be paid through the plan (including arrears):


                                                                                                                                   Description of Claim (pre-petition arrears,
                                                                                                  Creditor                                                                       Claim Amount
                                                                                                                                             purchase money, etc.)
                                                                               Massachusetts Department of Revenue               Taxes                                            $21,711.49



                                                                                                                                 Total to be paid through the plan:               $21,711.49




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                                                                               B. Claims to be paid directly by debtor to creditors (not through plan):


                                                                                                         Creditor                                            Description of Claim
                                                                               CIT Bank / OneWest                                         First Mortgage: 26 Ivy Lane, Milford, MA

                                                                               C. Modification of secured claims:


                                                                                             Creditor                         Details of Modification                     Plan Payments

                                                                               (None)

                                                                               D. Executory Contracts and Unexpired Leases:

                                                                               The Debtor(s) intend to assume or reject the lease claims of the following creditors, to assume or reject the
                                                                               executory contracts with the following parties, and to pay the indicated lease arrears through the plan:


                                                                                                                                                                                     Arrears to be
                                                                                             Lessor/Other Party                                  Assume or Reject                    paid through
                                                                                                                                                                                         plan
                                                                               (None)

                                                                                                                                  Total to be paid through the plan:                           $0.00
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                                                                               E. Total of secured claims and lease/contract arrears to be paid through plan (A + D):                     $21,711.49



                                                                               III. PRIORITY CLAIMS:

                                                                               A. Domestic Support Obligations:


                                                                                                   Creditor                                    Description of Claim                  Claim Amount

                                                                               (None)

                                                                                                                                  Total to be paid through the plan:                           $0.00

                                                                               B. Other:


                                                                                                   Creditor                                    Description of Claim                  Claim Amount

                                                                               Massachusetts Department of Revenue                Taxes                                                 $3,592.46

                                                                                                                                  Total to be paid through the plan:                    $3,592.46

                                                                               C. Total of priority claims to be paid through plan (A + B):                                                $3,592.46




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                                                                               IV. ADMINISTRATIVE CLAIMS:

                                                                               A. Attorney's fees (to be paid through the plan): $0.00

                                                                               B. Miscellaneous fees:


                                                                                                  Creditor                                   Description of Claim                 Claim Amount

                                                                               Carmenelisa Perez-Kudzma                          Attorney Fees                                        $3,600.00

                                                                                                                                 Total to be paid through the plan:                   $3,600.00

                                                                               C. The Chapter 13 Trustee's fee is determined by Order of the United States Attorney General. The calculation of
                                                                               the plan payment set forth utilizes a 10.00% Trustee's commission.

                                                                               D. Total of administrative claims to be paid through plan (A + B):                                          $3,600.00



                                                                               V. UNSECURED CLAIMS:

                                                                               This is a pot plan, in which the total of all payments in respect of non-priority unsecured claims (including the
                                                                               unsecured portion of undersecured claims) will be no less than $2,146.05, the net present value of which using a
                                                                               3.25% discount rate is $1,844.09. Based on claims currently known to the Debtor(s), holders of such claims will
                                                                               receive a dividend of approximately 54.17%
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                                                                               A. General unsecured claims: $3,404.02

                                                                               B. Undersecured claims arising after lien avoidance/cramdown:


                                                                                                  Creditor                                   Description of Claim                 Claim Amount
                                                                               (None)

                                                                                                                                 Total to be paid through the plan:                          $0.00

                                                                               C. Non-dischargeable unsecured claims (so classified for purposes of calculation without prejudice to the
                                                                               Debtor(s)' right to contest dischargeability):


                                                                                                  Creditor                                   Description of Claim                 Claim Amount
                                                                               (None)

                                                                                                                                 Total to be paid through the plan:                          $0.00




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                                                                                Total of unsecured claims (A + B + C):                                                                     $3,404.02

                                                                                D. Future value of projected dividend:                                                                     $2,146.05

                                                                                E. Separately classified unsecured claims (co-borrower, etc.):


                                                                                                     Creditor                                    Description of Claim                 Claim Amount
                                                                                 (None)

                                                                                                                                     Total to be paid through the plan:                        $0.00




                                                                                VI. OTHER PROVISIONS:
                                                                                   A. Liquidation of assets and other lump sums to be used to fund plan: N/A

                                                                                   B.   Miscellaneous Provisions:

                                                                               1) Debtor was obtained a permanent loan modification to address the arrears owed to CIT Bank / OneWest




                                                                               2) Debtor is no longer the title owner of the income property located at 7361 Woodbrier Ct Orlando, Florida. As stated in his
                                                                               Schedule B, there was a fraudulent transfer of this real estate asset on March 19, 2015. This action was committed by Global
                                                                               Business Serv Worldwide Inc, Adele and Sybil Singh and Totaram Singh. A purported deed from Debtor to Global Business
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                                                                               Serv Worldwide Inc. was recorded in the Orange County Registry of Deeds. Debtor disputes that such deed was signed by him.

                                                                               Although this property is underwater, Debtor believes that tort fraud damages exist. However, Debtor is not planning to
                                                                               reinstate title not to prosecute any claims as he cannot afford the same. Thus, Debtor is surrendering any and all interest in the
                                                                               Property.




                                                                                VII. CALCULATION OF PLAN PAYMENT:

                                                                                a. Secured claims (section II Total):                                                                     $21,711.49

                                                                                b. Priority claims (section III Total):                                                                    $3,592.46
                                                                                c. Administrative claims (section IV Total):                                                               $3,600.00

                                                                                d. General unsecured claims (section V-D Total):                                                           $2,146.05

                                                                                e. Separately classified unsecured claims (section V-E Total):                                                  $0.00

                                                                                f. Total of (a) through (e) above:                                                                        $31,050.00

                                                                                g. Divide (f) by 0.90 for total including Trustee's fee:                                                  $34,500.00

                                                                                h. Less assets to be liquidated to fund plan and other lump sums (Section VI-A):                                $0.00

                                                                                i. Total plan payments required to be made by the Debtor ((g) minus (h)):                                 $34,500.00
                                                                                j. Divide (i) by term of plan (60 months):                                                                   $575.00

                                                                                k. Round up nearest dollar to yield monthly plan payment:                                                    $575.00

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Pursuant to 11 U.S.C. § 1326(a)(1) unless the Court orders otherwise, debtor shall commence making the
payments proposed by a plan within thirty (30) days after the petition is filed. Pursuant to 11 U.S.C. §
1326(a)(1)(C), the debtor shall make pre-confirmation adequate protection payments directly to the secured
creditor.


VIII. LIQUIDATION ANALYSIS:

                                                                                           Available
                            Asset                            Equity        Exemption
                                                                                           Chapter 7

 7361 Woodbriar Ct, Orlando FL 32835                             $0.00           $0.00           $0.00

 Walking Around Money                                           $55.00          $55.00           $0.00

 Santander - Business Account - Limo Service DBA -          $4,469.21        $4,469.21           $0.00
 x9427

 Santander Personal Bank Account - Checking x8220             $163.86         $163.86            $0.00
 (Joint with Spouse)

 Santander Personal Savings Account x4421 (Joint              $217.13         $217.13            $0.00
 with Spouse)
 Household Goods and Furnishings                           $10,000.00      $10,000.00            $0.00

 Model Toy Cars - See attached photos.                      $6,500.00        $6,500.00           $0.00

 Clothing and Shoes                                           $500.00         $500.00            $0.00

 Jewelry                                                    $1,200.00        $1,200.00           $0.00

 Janet Pastore - Missing Rental Payments for                $8,000.00        $1,319.80       $6,680.20
 Tenancy at 61F Foxmeadow Rd, Leominster ($1200
 per month)

 2002 Ford Econo Van 449,000 Miles                          $2,300.00        $2,300.00           $0.00

 Fraudulent Transfer of property located 7361                    $0.00           $0.00           $0.00
 Woodbrier Ct Orlando, Florida on March 19, 2015
 committed by Global Business Serv Worldwide Inc and
 Adele and Sybil Singh and Totaram Singh. Although
 the property was underwater, Debtor believes fraud
 damages may arise.

 Potential Predatory Lending Claim against OneWest               $0.00           $0.00           $0.00
 Bank relating to the real property located at 26 Ivy
 Lane, Milford, MA
 Totals:                                                   $33,405.20      $26,725.00        $6,680.20



Total non-exempt assets:                                                                      $6,680.20

Less chapter 7 trustee fees per 11 U.S.C. § 326(a):                                           $1,289.10
Less estimated chapter 7 administration expenses:                                                  $0.00

Net amount available for distribution in c. 7:                                                 $5,391.10

Additional comments regarding liquidation analysis: N/A



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IV. SIGNATURES:

Pursuant to the Chapter 13 rules, the debtor or his or her attorney is required to serve a copy of the Plan
upon the Chapter 13 Trustee, all creditors and interested parties, and to file a Certificate of Service
accordingly.




/s/ Carmenelisa Perez-Kudzma                                                          05/24/2016
Carmenelisa Perez-Kudzma (633520)                                                     Date
413 Boston Post Rd
Weston, MA 02493
Tel.: 7812095596
Fax: 9786001482
e-mail: carmenelisa@pklolaw.com

I/WE DECLARE UNDER THE PENALTIES OF PERJURY THAT THE FOREGOING
REPRESENTATIONS OF FACT ARE TRUE AND CORRECT TO THE BEST OF OUR KNOWLEDGE
AND BELIEF.




/s/ Luiz G. Giuberti                                                                  05/24/2016
Debtor                                                                                Date




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